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 1                                UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3 Pierre Devlin                                              Case No.: 2:21-cv-01266-JAD-DJA

 4            Petitioner
                                                                       Scheduling Order
 5            v.

 6 W. Hutchings, et al.,

 7            Respondents

 8            This action is a petition for a writ of habeas corpus by Pierre Devlin, who is incarcerated

 9 at the Southern Desert Correctional Center in Indian Springs, Nevada. I have appointed counsel

10 for Devlin, 1 and his appointed counsel has appeared, 2 as has respondents’ counsel. 3

11            IT IS THEREFORE ORDERED that the following schedule will govern further

12 proceedings in this case:

13            Amended Petition. Petitioner will have 90 days from the date of this order to file an

14 amended petition for writ of habeas corpus.

15            Response to Amended Petition. Respondents will have 90 days from the filing of an

16 amended petition to file an answer or other response to the amended petition.

17            Reply. Petitioner will then have 60 days following the filing of an answer to file a reply.

18 Respondents will thereafter have 30 days following the filing of a reply to file a response to the

19 reply.

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22   1
         ECF No. 9
     2
23       ECF Nos. 10, 11.
     3
         ECF No. 12.
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 1         Briefing of Motion to Dismiss. If respondents file a motion to dismiss, petitioner will

 2 have 60 days following that filing to file a response to the motion. Respondents will thereafter

 3 have 30 days to file a reply.

 4         Discovery. If petitioner wishes to move for leave to conduct discovery, petitioner must

 5 file a motion concurrently with, but separate from, the response to respondents’ motion to

 6 dismiss or the reply to respondents’ answer. Any motion for leave to conduct discovery filed by

 7 petitioner before that time may be considered premature and may be denied without prejudice on

 8 that basis. Respondents must file a response to any such motion concurrently with, but separate

 9 from, their reply in support of their motion to dismiss or their response to petitioner’s reply.

10 Thereafter, petitioner will have 20 days to file a reply in support of the motion for leave to

11 conduct discovery.

12         Evidentiary Hearing. If petitioner wishes to request an evidentiary hearing, he must file

13 a motion for an evidentiary hearing concurrently with, but separate from, the response to

14 respondents’ motion to dismiss or the reply to respondents’ answer. Any motion for an

15 evidentiary hearing filed by petitioner before that time may be considered premature and may be

16 denied without prejudice on that basis. The motion for an evidentiary hearing must specifically

17 address why an evidentiary hearing is required and must meet the requirements of 28 U.S.C.

18 § 2254(e). The motion must state whether an evidentiary hearing was held in state court, and, if

19 so, state where the transcript is located in the record. If petitioner files a motion for an

20 evidentiary hearing, respondents must file a response to that motion concurrently with, but

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 1 separate from, their reply in support of their motion to dismiss or their response to petitioner’s

 2 reply. Thereafter, petitioner will have 20 days to file a reply in support of the motion for an

 3 evidentiary hearing.

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 5                                                       U.S. District Judge Jennifer A. Dorsey
                                                         Dated: October 20, 2021
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